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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION

     UNITED STATES OF AMERICA                                                PLAINTIFF

     v.                         Case No. 06-50054-003

     MAGDA CASTILLO
     a/k/a Magda Reyes-Cabrea                                                DEFENDANT

                                           ORDER

           Currently before the Court is the defendant’s Motion to

     Reconsider Bail (Doc. 126).           An order was entered dismissing the

     indictment against the defendant on April 24, 2007.                   (Doc. 125.)

     The United States Marshal’s Service has advised the Court that the

     defendant has been released from its custody and turned over to the

     Immigration and Customs Enforcement Agency (“ICE”), pursuant to a

     detainer previously issued by that agency.                Accordingly, the issue

     of   bail   must    be   determined     by   ICE    and    not   by   this   Court.

     Defendant’s motion is therefore DENIED.

           IT IS SO ORDERED this 2nd day of May 2007.



                                                   /S/JIMM LARRY HENDREN
                                                   JIMM LARRY HENDREN
                                                   UNITED STATES DISTRICT JUDGE




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